"Cas"e"l_':l€-cv-ozl?,¢l-ALC Documem 86-22 ` "F`ilédbé/la/l? ` `Page 1 of 21

\¢`~'¢\
-- w -.<\> ;
§ M‘”§£§{u,",§

155

w » '°‘l 1"¢’"" ¢;
§§ vi ~'-F`?'w'»

@ wax d

 

Case 1:16-cv-02134-ALC Documen_i 86-22 Filed 08/18/17 Page 2 of 21

.A`_
n

irizmT_A/Vifk1‘-.‘zss\imun
.15°?’7 '.15lT

AI'FIDA.V!T lN SUPPORT 05
tew AN DRDER TO' 5H0W CMJSE TO VACATI» 11 mimms m r
Ba§¢d Upon a) Fa.ilure TC\ A[jpea_r b] Fa`ilu.rt: tm Cn'mply
and

I`/O 7ESTOHE TD HE CALEND ii

51 tire z“")@~“” H__
DRes;pendeni g/\SMZ /§/ >¢/ /O£f/§C;l Apz, @`»:z.-

Scate of New YMW et §§ / ss.. '
/6§ 575 )l fe §Q.. ml/V(¢\, M w iti- , being duly sworn, deposes end says:

_tials Pnn.r‘qul Nlmel

- § a) I arn the tenant named as respondent in tile above summary proceedingl
b) l a.m the person claiming possession to these premises and am the
of the tenant named above.

 

    

 

 

 

n§> K__§__ l received the Nor.iee of .Petition and Petttton in this prcn:eedim§;'l filed my answer m the Clerlt s lei`ice and

SERVIC received a date for trial.
nd ANS I received a I-Ioldover Notiee ot“ Petition end Petition and the date had already passed

 

Cln the Date of Trial before Judge
11) a .ludgrnent was entered against me by default for my failure re appear. My reason for not appearing in

Court on the date scheduled for Cl`rlal} (Metieo) is:

 

 

 

 

.-»’*'"" " ‘
§§ ,§ , b) a Judgrnent was enter glenn trial (at'ter stipulatioo) but ill tthe L:mdlord failed m com ly with the girder
fthe Court beeause' LC.-C`.»/l~‘-“'Lr“l/L/LLL.==-# Q/i,/Ley_ 4,.4_11,£11;('_ : ¢q,\_,{h §

meis- Ndis flQ,LJC~¢.;L.N»\!;'>’£Lo :Qex. \M~L/ML_, Wiv,i,,¢§m

l allege that l have a good defense because:

l was improperly served. _______ petitioner is not the owner.

the amount being claimed is incorrect no rent was demanded

there is credit due fur rent overehs.rge. the rent has been peniollyffully "peid.*

the rent has been offered and refused I have been harassed

there are conditions 1n the apartment which need repa[/U Userviees Ww/tz: have not\been provided

*Explai rent payments, if any, or other defense: -§€Lr‘-”°’L-p ,`5€11 i/! 'M._s-“

`_FQM M_MW(. U tie {MEA Wn\:(: -i'l¢¢{> ~@.QNT'§L*-j/B"g(-»£Yl if'lmt,.¢-~M

 

 

 

 

 

l l

 

 

1

§<

 

@}/L { O);pL,G/J Di)il 15al fe 30 5 MM»¢L (WL leniva qu"<"/‘U~"-I-QL \O M\Yee.l ‘l's') (Vl'l"§'}"i-i&_

5. __,__111... l reqth that the .ludgrnent be vecated, that the ease be restored to the calendar and that l be granted
REQUFSI` permission to serve these papers in persen.

11) l have not had a previous Order to Show Cause regarding this index number.
b) l have had a previous Order to Show Ceese regarding this index timber but I am making this fenner

ti. ,,,,,___m

PRIOR
GRDER application because:

 

 

fm

. 1 "\
Swemtebefe me mis__“/'?_?m[dayof”m__€?£m,.?& A(/>M:Le iii/1 -5:1 rpm %VA_.__,
lgnatureo espon em

Signa.nufet` Cooit Emnleyee¢$'d"l"”itle

ClV»l..."l"ll {Replgoe$ C.`lV-L.T-l lB) (Rr\'ised, Mnreh. 2000}

 

 

 

 

 

ease 1_:16- -c\/- 02134 ALC Documen166- 22 Filed 06/16/17 Page `3 0121

C.WILC()L 10111111111'1“111)11“1\111;\111.’0111< 111111.1 :211~1___.. ,,(lz

Cmmly 11 \f::>
I]atc é/Z ‘[/§B I'm'l M
S'I`II’U LA"/["IDN OF SE'I`TI,I*IMEN"!`

/'70 &AD C/[,C/ " T}w 11111"'1'11 s 11111!111§1111111‘1!111! 11111.~1!1]1111'1'_} 1111.11 the
!’1=11'.11`111111(5) /Z)N' _ 111;[1111'1 11 111'11{, 11'11l 1'1_1,!1111) 1111 11 11111'.1:11 11111111 1'111111
£TS'HIH_\'[ ® 11

` 1111 11 11g!1111111 111 1.111‘111d 1'11111 11 311`;111111111)11 of
1. 1'1111111! 1101111\111‘11f1‘131're1»11'1'11 11/"1111'11'111`.1'11111.11
M 111 1111'1‘1'1:11 11;;1111-' 1‘}111111112_}1 1111 1101 11111111‘ 111 go m 1r1‘r1!
,/;7:( VA )»` & w gi M;f 17 51 §§7111111141;1'1'1111:11‘1'11'_{'1111'11111111‘1,.s!.r`p11[a1‘1'1111 1`11
~5\ diaz §,5`1\)1'@91111 11' nfrlm 1`.1'.'1‘111,'1‘ 111 1`»'11'§ 1111?|"!111”.
166 H¢=1111~ 137
Parly (1'1161161: print)

wm

   
  

 

 

 

 

 

 

 

Pc:titi<;)ncr ____
R65p011c1611t1 __“_H_ _HMH __________ _ __MM_
ReSpondentz W MMWWWM W__F___W_F_ __H“ lllllll M
Respundentz _ _ __H MMMMMMMMMM
1 l 1111 11. \ 11..1.1..1 516 )161./1 W \FLG QJ)OLA /¢
»»-A,...F»nmi¢`mm . .1~..... .____ £»M .F;. ....-,.1__1.......

1 wM 111'6@71

Imm ///MW V /L{M;mn§/ 1766/61 W
m ….j,- 1111 161-1111 11111111/

,1
¢- l ira l g I{ ‘,,`1:/' _h v wit .1'11.'62 h

 

_.‘ .1‘*1‘-!'1'1'1"-

' _ BEMM U/ A?P,»>§¢,Mf 1
/7112;( 111::16\11 11\_'“"“"1".1_»» 611 11111)1.11 ~1 …

711 M …LM /116'721,1

  

 

 

 

 

made dA_=/Q _, 7 ,/1'):`314114» /’.'"M"`\\
1 \_/‘,_,/ KM 356 031-__ j

m 1 ,»-
._%>1[§® F\DN §\ \ § 13119111 51

V.LT--}O page l(RE\ds-cd 4107} \». d /))

 

 

 

 

 

 

 

r“',

Ca§ga&»~t€ cv 02134- ALC Document 86- 22 Filed 08/18/17 Page 4 of 21
- di ‘}M‘BMWM ._,,..\.'-#-““»-F~v
h~~“"*****WP*******F*******NM%M******§§************%*****%+************x*%xwavw»*
*******%****w*******x§****M*******¥**dwa*****¥*******%%%***F******%*%%H%M%M%*¥a¢@

  

cIuIL couRT mr THE clTv nF NEw YQRH INDEx No. mag?z§/em@e
cnuNTY mF BRDNX morrow EEQuENcE mm.= wm&
Hnu§zma pRRT m, Rm.aam
sEPTEMBER 29, anna

 

DECIEIDN/GRDER
17@ GRnup,LLC

PETITIGNERcB),
AGAINST pRESENT=
sEMnHuLQ TnRSMn/GEGRGE

REGDONDENT(S) THDMQS M. FITZDQTRIEH

JUDEE

RECITRTIDN, 95 REGUIRED BY CPLR EEI§(R), DF THE PHPERS CGNSIDERED IN THE
REUIEW UF THIB USC TU VQERTE DEFQULT JUDBMENT/RESTURE TD THE CQLENDRR

PRPERS NUMBERED

NUTICE DF MDTIDN RND HFFIDQVITS QNNEXED ....... h
URDER TU SHUW CRUSE HND QFFIDHUITS RNNEXED.... |
RNSHERINE RFFIDHVITE .......................... 1
REPLYINE QFFIDRVITE ........................... l
EXHIBITS....... ............................... |
ETIPULQTIUNS. ................................. l

UTHER f
f

 

UPDN THE FUREGUING EITED PRPERS, THE DECISIUN/DRDER IN THIS MDTIUN IS
95 FDLLUHS:

A/fé E;Bt£~?¥ [

 

 

 

 

 

 

 

 

 

f`\
€/M/of Z@
DRTE j JUDEE, EIUIL/HUUSINE EDURT

RDJUURNMENTS

 

l l \ z 1 l
1 l l t l l §

_h-i--nm-____”__-.-._-..-__.¢_._.-._-»-..»-¢d~n¢-r~u~\-du¢-w-m-»m-v-H‘“-

 

4_.,._....,..,,.,_.._.,,.,....,,,,._,_,.,.._,..._,___.”~.»»

BENERRTED= waxz$/amma a 11=24=41 cxu~eras c?/a$) cnaanc§EQ§£>a@zm)

Case 1:16-cv-O2134-ALC Document 86-2~2*"#”,,|§1,|§.£1,08¢1-8/17 Page 5 of 21

_v-v-"'""'_'
,_.-u-”'"”

 

_ `~’URH mnE)-c Nu. »z\z.':-)'?E.S/Emm
'-- q l E.EC! NG. mm
Sr~mw L.QLJSE m mama DEFQL.JL‘|' JUDEMENT r-\N!:) TU RESTGRE Tc) me C¢:.LENDQR

`.-r.p;“'

 

17a EROuW,LgC
@ETITIUNERcS),

QERINET PREMISES"
EEMRHULH TQR§HR/BEDRGE 136 HEBT 1?@TH STREET 51
RESPDNDENT(S) BRDNX NV 1®45£$@@@
UPUN THE QNNEXED QFFIDRUIT (DN BEHQLF) DF TRRSHQ/EEDREE SEMRHULHq

THE RBUUE NRMED RE$PUNDENT(S), SWDRN TU UN EEPTEMBER 155 E@UB,
QND UDGN RLL THE PRPERS RND PROEEEDINEB HEREIN:

LET THE PETITIDNER(E) UH HIB/HER!THEIR HTTURNEY(E) SHDW EQUEE QT 9
MUTIUN TERM GF THE
EIVIh CDURT UF THE EITY UF NEH YDRH
HUUBING PRRT: PQRT M, RM.AE@
LUCQTED RT: 1113 ERRND EDNCDURBE, BRDNX
UN: SEDTEMBER EB, E@@B, HT BQ:EE HM

DR 95 BUDN THERERFTER 93 EDUNSEL NRV BE HEQRD, WHY RN DRDER EHGNLD NGT BE MQDE:

UREQTING THE JUDGMENT BQSED UN THE REBPUNDENTS FDILURE TD RPPERR,
REBTDRINE THE EDSE TO THE CHLENDQR QND/UR GRHNTING SUCH UTHER
` QND FUHTHER REhIEF 95 MQY BE JUET»

UNTlh THE ENTRY DF R EDHRT DRDER, RLL PRUCEEDINEE BY WETITIUNER,
HIE!HER QTTURNEY, QND RNY CITY MRRSHRL QRE STHYED.

SERVICE DF 9 EDPY DF THIB URDER TU SHDN EQUBE QND QNNEXED RFFIDQVIT UDUN THE

PQRTY"S RTTURNEY {UR, IF HE/EHE HQS NDNE, DN THE DQRTYJ,

QTTDRNEV(DR PQRTY) MHRSHHL:
(J DEE TD INITIQL) JU E TD INITIQL)
BY PERSUNQk SERVIEE “IN HQND DEhIUERY" nm Y PERSDNHL SERUIEE "IN HRND DELIUERY"

;2§¥ cERTIFIED MQIL, R. R. R. __BY cERTIFIEn mnIL, R. R. R.

v FIRST ELQSS MnIL wITH cERTIFIchE HMBY FIRST chSS MQIL wITH cERTIFICmTE
DF MQILING nT PDST uF qc§:1 DF Mnlhrma QT FDST DFFIEE

mm DR BEFDRE 1 O{§f' , EHQLL BE DEEMED Guuu nmu suFFIc;ENT,

 

pnPERs an BE SERuED BY THE!RES¢DNDENT IN ¢ERSQN.

PRUDF UF BUEH BERUICE MQY BE FILED HITH THE ELERH IN THE PRRT INDIEQTED RBUUE
UR IN THE L & T EhERH"S UFFIEE BEFDRE THE RETURN DQTE DF THIS DRDER TU EHDN CQUHE

QTTGRNEY: MQRBHRL:

HLFRED I. EREENBERE,P.E. THDMQS J BIR-BQDBE #9
423@ HHITE PLQINB RDRD ` ” 181 EHBT 161 ST.
BRUNX, NY 13466 BX, 4 51

TELEPHDNE: (71B) BEBHBHH@

911ng

DRTE

 

DENIED . ‘
EENERRTED: 63!15/3¢$6 E 11224:41 EIV*LT~TI fREVISED ?/933

 

Page 5

 

wd=a; :=-; 2:;-;:`,<-1¢-_~¢-;¢,-.,:u.q;;?,=,-.;=.¢_z`m:~:-

 

F\l_\,_'.':,l\' \i' l 1‘"_ w 1 l WW,_°;;.L'---F.W: \.,_,__.._.T"'"_ F"`._SC““_A 11~ y\_,c MF,F
.`lr-_…, --" ark _ ___m_ 1"`|{)1 l) \‘ |r\».¢`,¢ *1_111

     
  

--¢_. N. .....r___,,,,., m d_

lP'Ll"A*S'E I'Ri'.' 'SS liA'R.D\

Housing Part ,»! 7
index NO. LT 7§;55“-/03

AFFII)AV!'I` IN SUPPORT ()F
AN ORDER 'l`{) SHOW CAUSE 170 VACA'I'E n JUDGMEN'I`

 

 

 

 

' Pefi!ioner. Based Upon a) Failure To Appear b) Failure to Comply
against and
RE$TORE TU THE CALENDAR
Mdr:ss: ‘ /:::>C» i,/c)se s`¢-€. 1 "?t')"% LBiJ/efal~
Respgnd£m §‘?if?.d'h tv l i\/ V / 011 §'2~ npr..i:;;s§:iiw

 

State of New Yorit, C.ounty of SS.:
.,.»~""" } __
1151 9\5=\ i¢-'r‘-.. § tD. r`\'t¢l.. z ij 144-a , being duly sworn, deposes and says:

-T£'fttml 5 Initinis lP“`m mr man

-~-~" “ a . _
I_._Q,;.,, a} l arn the tenant named as respondent tn the above summary proceeding

b) l arn the person claiming possession to these premises and am the w
ol` the tenant named above.

. .L..`.?m_..,. l received the Notice of Petition and Petition in this proceeding. filed my answer in the Cleri:'s Ot“f'rce and
ERVIC received a date i`or trial.
a ER l received a Holdover Notice of F'etition and P'erition and the date had already passed.

 

 

 

 

. \., On the Date of Tn‘al before lodge
CUS ____ a) a ludgment was entered against me by default for my failure m eppeer. My reason for not appearing in

Court on the date scheduled for t'l`rlal) (Mntlott} is:

 

 

-".""Hr”-.i
l.,§_. b) a ludgrnent was entered taller lrial) {al`te stipuan l but (l) (tltc I,andlord) failed m comply with the Order

ol`t Cottrtbecause: /";(-b Q$Sr " EHC,FM flth Q/¢(,.M/`)L »’<£1) (;iliC(

 

 

 

 

 

\Qm_,{$’ /OHDLQH»L s[/Awb. FLUZ£F()P§( 111 ~J\'n`!“‘ S“'c:'\ M'_P"¢:‘:/D:(:-:"::Mf»*i 5 1151-di Ci', 5"':: \/ c :J(.MH
d. l allege that l have a mgood defense because
EFENS l was improperly served. . petitioner is not the ownerr
the amount being claimed is incorrect. _. no rent was demanded

-»-»-_--

there' is credit due for rent overeharg,e. the rent has been partially/fully paid.*
the rem has been offered and refused t have been harassed
]L,‘E. £/"~43°{'"1]“ 'p ““”:r§u__ there are conditions in the apartment which need repar' or services which have not been providedl

1\~?\”""£“ bmi/w *E.xplain rent pay§nents.rf=my, or otherdef`ense: Q\M '|L\'*L q 55 5`!¢"1’0(.`£ (("r:w”.in//Q__,,

dw§£ ‘R‘W alia '”‘l' 935 find emidWmL -i-i”““~»is la Mer,'»(£r~‘( ie= 54`€£":~1`\4 F-(-/\.<__,

 

 

 

 

 

l request that the Jttdgrnent be vacated, that the case be restored to the calendar and that l be granted

 

 

 

 

 

5.
REQUEST . permission to serve these papers in person. w
d. a) l have not had a previous Order to Show Cause regarding this index number
PRIUR b) l have had a previous Drder to Show Cause regarding this index number but l am making this f archer
ORDER application because:

 

 

 

Signntut:e of Rcspc\ft nl

 

 

5 nature ourtEmpInyc and'l`irie

F’age 6
(.`W»l.‘l‘»l l (Replrlecs ClV-i,’r*l llJ) [li.evisetl. Mrtrt:h. 2000}

 

 

 

 

ease 1:16-cv-02134-ALC `DocumeanG-zz l=ned 03/18/17 Page 7"6`1""`2"`1""`

Oli`l+`lCE ()F ’I”.HE Cl”t"v MARSI».IAL
‘t‘l-IC)MAS .l. BIA

CtTv MARSHAL # 9

181 EAST torn STREET

nnt')Nx, Nv 10451

Pl-tt)ivtt: 718/681-3373

ssz stamm-serv

 

 

 

 

 

 

 

 

 

 

 

 

WARRANT R.EQU iS"iTI ON
C()UNTY: i`iRONX . .a.r 1
INDEX # 039735!08 MARSI-lAL'S I)()CK.E'[` # ‘-;> 3 j g (-@3
P.ETITIONERS RESPUNDENTS
170 GROLJP, LLC "I`ARSI-lA SEMAKULA,
r_ _ d
Al)l)RESS: "**
AI’T: El ROOMS: ALL
136 Wcst I7Utlr Street Apt.# El
Bronx,Nd’lOdSZ
NfP X H/O Afl` X DEF` lirES X C()M

,,.,__~m-_W
m»-.-»_--

coMMrsnTs= 'J/JS`SUHV\C,C' i:Ui€‘fhW/rh fier cid/rd tr//i' 7;’¢='¢\/

.Z’n./i§.r,¢,@;,

nA'rn-. my 30, 2003 'rr-rorvras ..r. offer

BADGE # 9

KKO'.`S-‘l B-E'l

Page 7

 
  

CLERK DF THE CiVlL CDURT OF THE
COUNTY OF BRONX

/’e.'!ir't`drrer'
lrrrnr!.'o)‘ri

170 GROUP, I.!..C
- against »
TARSHP\ SEMAKULIL R£__,Spomlmu

Tt'r¢rm!

136 i\l`l-.`,ST 1`."`011}‘1 $TRE`.I';`.T

mumhw

 

APT. El
E-RONX ,N.\." 10452
YCJU ARE HEREBY REQUESTED TO SUBMIT THE PAPERB lN THE ABOVE
ENT|TLED PROCEED|NG TO THE JUDGE FOR A FlNAL JUDGEMENT.
JUDGEMENT FC|R ALL iTEMS CLA¥MED AS ADD|"I:_|FQNAL__RM[§_N_T(S) IS
HEREE»Y WA|VED W|THOUT PREJUD!CE.<K<""N_ _W__._,;F>
ATrORNEYS FoFt THE PETlTloNER
Alfred |. Greenberg
A|frarl l. Greenberg, P.C.
4200 white maine need
KI<Oji-]. B-Ell Bronit, New York 10466

 

Page 8

 

 

Case 1:16-cv-02134-ALC Document 86-22 Filed 08/18/17 Page 9 of 21

N"`”“‘W:inmm t
.MMMWWMM

com
oeci's"i`c`)'i`i""itni:i~seeaa_ __________

170 oeoue, LLC, q
W‘twr"lwewwmw_mmn

AGA|NST Wi,…t

SEMAKULA , TARSHA
SEMAKULA , GEORGE
Responcie.nt (e')

      

 

_ De_cision and judgD
a stipulation entered into y tbe parties as follows:
Judgment of possession is granted in favor of:
.'i."ro oeoue, LLC,
and against
_ _ semettur_i;\, 'I'ARSHA _
A counterclaim is_ granted in favor of the res ondent rn the amount of $0.0D
(wnich if not being entered sepera ely is offset and reflected in the
total amount due. listed below.)

A money judgment is hereby granted, along With cost and disbursements
in the amount of $U.OO in favor of:
170 GROUP,LLC,
and against
sEMAKULA, TARSHA

for a total amount of 32039.14

(Monthly use and occupancy is set ata $0.00 per month, as er order,
stipulation or decision in record §

 

 

 

Warrant to issue forthwith Execution m ill icg

§ f ij THDMAS 'i _i
Date 2 iri. Firi_-n,.m~.a
Judge. Civil?Fiou c ou '. trousir\io fm

Pfi
Section 5020(c) of the Civil Practice Law and Rules requires that a satisfaction be filed with the mm
clerk when the judgment is satisfied Failure to do so subjects the judgment creditor to r.\en:ailtlesl

_________ _ ______________...........i..,.,......_______..,u,,,..,..,______, ,_,. __ ____ _
.........______=:_=______________________Hmm”_______._,_m______ mr.__%__r=_w

ENTRY OF JUDGM NT

 

 

merit iS render€d LlpOi"l ` n

 

 

 

u. a aff seat
Judgment entered in accordance with the above on 7 ¢;2 §§ , _ _ "
` / ’ / f §hief Clerl<, Civii Coun
Warrant issued to Marshal /_.;Z; l 01 On g ¢J,S_ 0
ClviLT»so(zoDe) eegei sri

F’age 9

i ;Y;!EE?E?WZEWMWM

Case 1:16-0\/- -02134- ALC Document 86- 22 Filed 08/18/17 Page 10 of 21

iowa

(.,l¥'iLCOUR'i Qé:l""iiil CI'I\ (WWWMW

Ct)UNTYOF town .
inner iii nine njej[ej§ WM%%

/79 §/ftta/f' 1 ('LC s""_iiinit..'iir1on or siiiitr'\iii\ir""“'“'o'~~~an._

the ]):tl tieit itiiili:i'_<,tnttil I]rnr t-.tcl\ ;i-,iit\ |m: l t ' l a
1’!'.\intii.`f(i;)/i’etitittttL"t‘(.‘i‘) ii'i:il, the right to tire ii ,iurlpc. in -.ni;i- ttiiit~ niiil lilii.-if'r*ii\_lliliuiiiit k
-ttgt.litt$i`~ tit enter into :i stipulation iit'i;t-tttL-mimi, 110“-¢-\-¢-1-,;1[¢¢1-;\
rei'i`en' trl` rill ilie itsiies, tile parties agree flint ilie_r ilo nut
\\iitittiii:ti111lri.'i|iiiicliiiirteinl:lpiit tri the following

72../;)"1_,? jaij /pc? si[»- " \\\\\ i '_ ‘__\_”_”_ §|_leiritlil til 1111 i.\$'.tt'i_i,' iii this m; iltel;
5 gte
I)efeniimitt`t)iitesprni¢lentied

f a i\t.|t.l\.‘Li-“r\1it\'-'Iit-it!tlt'[`51.i‘ieit."ti 1\11|:<_';11.'11;1:;= 1`\':‘1 f\|tj_\e;i:;ili‘. '*
"." U'i`|¢. `|"|i] l J.` ii

il daai£aa,n.amaj ring ji}‘g\-wl~ €<'?_Y`WWMQ: W d /__/W*’.,i uC?i¢t».'
Respoitrieni consents to c1 til.\' \I ._ilt I)Gl\-`€It N't iii tltc amount tot.'i§ ,,, 7 5 "?F Fi /k/ \i'liieii

i'ept‘ei;t:itlsnili'cnttluctlirougli 3 l"F :5“-‘€ )EM . uttt.l’etiltoitts<io'tiiieiidctl

(Respi'iiirleiit lies :1 Bi'eekdowii]

 

 

     
 

 

 
 

i*nrty El‘.ilut-t:

 
  
 

I‘elilioner:

 

 

 

 

l'."-.
itespoiident:
"'_"'l

 

 

 

  

 

2. issuance citi1 'l`t-tte xiii\tti.tnr~rr eottTt-Iwi'rit, execution stayed 10 ii default cf the initiating
payiiierits:

 

 

 

 

. -»`_ l '.i :. ..1' "` " '51 ".`-i 3 . l
3.5_2,032§`,‘°{ BY_KU/Q!_b.§, er es er l

RESPGNI.“)HN"I" leiitiei‘:t, tierepletl without prejudice & already credited uboi'e: a

 

 

    
 

»-1*1\11'1'1,\ 1. PAYMEN'rs MM' 1313 ncci'£r‘rci:) Wt‘i‘i tour t~iu?.Jnoice te 1\1.1. iii\\’ii-tl_=.i\t‘t‘e Itecl.:tviiib st-tAt.t. Firts'r ne
it '1 _.1eo 'ro annncn'r_eliet'r ritei~i To Atirniti\rts
. one in ocean To \,T_`<ar\usem upon co zci\ Wa:@ ap "L
aleonr.lent nlleg S: Mil#\_ C:)\i'i Mi’fj:n)§.)'"
r/i Ci\.lo kw\*iii'~i. ~Q)élf;m€t_/)W i_r~i QA,i;Li_..{.)
ne it/t..f)#¢/J

 

l tini.`iloid tit inspect &; rep' iii 'ls ie_'._::\l|y needed

t
i\ecessi)iites: ?7 l l £/O(l/ 96- S. iitiyit:'ijsncctieiithereafth Teiiniit’sleleplioiic# i&b££n z ZH:»"-.?'f ij
c .

jim/kw ‘;FN¢W'
… ‘/L/l/i §¢HA*~M
ah , .` iv 1 S
_Pa:@mtcjar§ame§(s) Fseoi\ir)ttt\n t ) Page m

 

 

 

Case 1:16-cv-O2134-ALC Document 86-22 Filed 08/18/17 Page 11 of 21

ctvic conner

  
  

it.

 

 

 

` W"""""'{"‘*"'~-~»i-ei.-tt
(`,.‘ounty of ”5@"">{ m`“`“'“‘--~~»a .
H`onsintt Pa'lt M~~'-MWXWNV
/ §LO @"irC-Wa@ ' LL C/ At-iswsn tri Hmii?iltt“n‘“%e»aawmo
Petilioncr(s), 7 ”“" WWM'
.,agaim,-p Naine: \ Sc"f?'?ifi /<L"/¢ioo Zir“.<%o` o M.

 

 

l et ‘ l onodd ..o.: /L W . /)ZU"H‘ . adea
7;1;» jua gemol/Hoo(q o §§:o;;t;c:i allard/po rcs‘i__ ?é? flag o t<i
’ ‘” cities insist-coit rey

cspondcntill:ll’crson claiming possession has appeared and has orally answered thc Pcti`tion as fol.|oivs:

Answcr
SIEILVICE
I. __w_ Tlte l{cspondcnt did not receive ti copy ot` tltc Noticc of Pctition and Pciition.
2. M_ ‘Iltc Rcspondcnt received thc Notiec ol"I-‘ctillort and 1"cti`tlon, lint service was not correct as required by law.

PAR'I"|HS

3. _M__ Thc Rcspondcnt is indicated improperly, by thc wrong nainc, or is not indicated on thc Noii'ec ot`Pctiti`on and i’¢.:titiortv
4. _ _o Thc lictitioner is not thc landlord or Dwncr ol`thc bnllding, or a proper pai'ty.

RENT
No rent demand or proper rent dctnand, either oral or written, was made hct`orc this proceeding
Tltc ltespondcnt tried to pay thc rent. but the Pctitioncr rctlisetl to accept it.
'l`hc monthly root being requested ls not thc legal rent or thc amount on the current leasel l
Thc Pctitioner owes rooney to thc Respondcnt because ot` a rent overcharge l
mm__ Thc rcnt, or a portion oi` thc ront, has already been paid to the Pctitioticr. |

 

 

Pesem

enactment
lO. _mo_ "I`ttcrc arc conditions in ttic apartment which need to be repaired and/or services which the Pctitt`oncr has not provided
l l. M___ i’uhlic Assistancc shelter allowance has stoppcd because of housing code violations in the apartment or thc building
12. __m_ Thc apartment is art illegal apartmciit.

green

l J. I,achcs. ____ Cicncral Dcninl.

14.
lS_ no oooooo R.c ondcntfl’t:rson claimin possesses is irwin military service or is a dependent of someone in thc military seivi'ee.
IC\. _['_,_/FOtl'stgrAn war D\.Hé:c;) i u" § i _ o
cf eden j acid

cici'ii'so_t_atittai's"
No'ricis on scr-tccuLt-:i) appearance ""
Tiiis case is chc ulcd to appear oil the calendar ns follows:

ZaH\/\ t>itnr: i\/\ nootvt=m jj QJQ_ ll

von sitotrco nnnivn .itr rita counTHousc MMM rita nnovit t
scneoocsi) rents ro ALLow 'rrrvrit 'ro nn rnocirsscn 1'1=irtot.)on 'rt-ts Msriti... oc'rncr'orts. n= it
ssr'rcti:iirci~rr is No'r essence on res Aeovc sciicatrcst) cars 'rne cites ms ns sntvr rro it 'i'it.i.»t.c.
nancy ritter ron n renodl is son th,c Nor se kenny ron rican on 'rne nsove scner)ui.itr) nitrs,
von Mtrs'r itsit rec cotter son iuvo"rncit 'ritntt, once ts cite const nose nor itccet='r voirit
season sort rior csrth iti~:,itnv son 't‘ittsc, torn Youtt niroocst‘ ron nno'ri-tsn Tin.tc cars rs
ncnrno, Yotr MAv ns nsootneo 'ro i=noccen To stone mmcni,it'rccv.

THE CLERK CANNOT C'HANGE '[:H`E SCHEDUI.ED DA'I'E OR 'I'IME.

von Mosr APPn.-ttt ann nitan 'rnrs nonivt wire vou.

 

 

DA'I`E:

 

Far assistance visit n ltc-source Cenret* in rita courthouse ar the court 's wetl).ri'te: NYC.'nurts.Gov!l'iiYCI-totising.

ClV~LT-9I{Rcviscd May 200'?) Pag@, 1 1

 

N_\ mwml wanto..~, §uzamo _.D…U o£.ho unou minn end he wrong anean
¢wm mm .§m mean 55 .
LM»WWMe w nan wo&wne booth E common mo:m& no E.n B,e.=erEH nn E :_..mE c_HE B=M_Ehmm no Bmmomo_o neemm_oe.~ Heomwomn:m o mm m.r_me.s_m m.§:

new am aec esso

  

ed m o . .. 3 mean §._eme ~eoEmn=.SEE ohio anne eeo E 233 _.SE hence EnEmem co emmomen EE _mu_em E_. _._:E § he
nwa HMEoo on H:=mm non duane tone .mew o_._Io when am nixon tone oct § ocean noon com nos nome£=newen wasn n co wooten cum awswmzwmm© .~ n
. E Ew_ouooom n£.m no EeE..…eooM.mm mm now Hmo:wo._ vacuum ._:om conn somerson vi 2 uncommon EE n .5 ammerman moon m mcmann 2 _\a concede cc_w.toceoc
UmoU_ o£ he commence on mens nom 33 mm:%oeooem ven manned beacon guam H._Co mE. =ouoom canon went unmtz wade .c_ t . t en _. w
dow sons =o::om ..e nunez win we ee_..er one Mo amc new mE.so h
. . . . . . row en iowa one §§ wong en E= :m.s nom
mEmWoEonmE wages mm§n now .M;mome uo.§=e on mma_., e._:e.wou he noncomqu waco _.Ea_“_mm use conoco 2 mem nom woman one 5
dozen no Ewooooe co£o mem E cowen mm m sumner en omni e£ co cascade nose we”taowo Eotm nonier on there mean
hoom.=§m o£ho mnowmmo:n oE on osm_._ §§ nom gmi nwae.“oe hon cascade nom omnmean=_ 2 mem :o.h.n wear em._w mUM..H.GE mm.&.
.EnEMv:.Eo:m.“o nunn umw
o£ Eo.m mann mind com conoco on .§ow opm mo newneommo o£ 5 £En nom MEWBRSWE H§.s ohio encomme mac dow Hme.§wm
woeoomon am ~=mn&.voham§on no Hm.m one ceta wm ..Hommm HW=E mem seitz wm countenance when m §§ EoE con m §§ owen En Eon
on §§ gewin mcmanus co H.E now Emn umw ho nunez comm one Km E_s ..,._.§U o£ .eo_sm=m .=._o_h.io greene nO donna e£ we Eo.&oe._mn
. boom no crow ..H uop£onem m… §eme§o:oe no oweomov none ememn= announce nom game noon __WE nom §muo§§oo co omeoweo
ann snow now hong avenue how crown admin ooEG n£ nw wo.&o£ e£>eom,wowoo& £m..... conoco noommo um§mte ego mann the mem
sangamon vi now m___~oEenm o£ conn weoeoi ___Eoo n mEEoo hon munson 5 co snow _.,.,e?~.wo o§m cce arm “§oem we bnoou
692 PZ txno.mm H..u.,...§oon_ou m=EU § : me deem mECo 530 eeo wooden .h:Eo
.eo£mo .ee`._.,mne. ~onE oomt.oo_.n noon mcewen mo nunez mg no newton nose mcmann m>Hm Emw.r_._._. §§ o£m mUEtOz UMQH

c
new
_…

 

 

.H.Zm w.,MH.....L-ZOZ.

 

 

 

 

 

Case 1:16-cv-O2134-ALC Document 86-22 Filed 08/18/17 Page 12 of 21

 

  

 

 

en ..rm .m£coeuoem eat we mEoEoE:L.».H eeo once o£ mann Eo.m
HEHUME§GM.NM.E owen o_.m com sch om£emn Eon._wwu.m..£ newsom ego mm woman mm wonEon gain anne mUH.M.OZ MM.E. .a
wid, w.»_. ....._..u W m denman ego § nonem”nen mm Hm- t
N.M. § an Mno._w _.ooZMo t__EU osm 5 .oEEm.Ho .__w§ou_ emmean § JEEm amebm 553 Hmoc_§ cf wm HEEE . .... .$
H.. M U . _m Eonnnom._q. awEoom mduns.,o:£ am am wmc em .o
wm Bntoeom mwm_nee@ uaw ..E nowmmommom oncoming uaw 2 mEo.§_..,m coonom>u we uneEmnoTeE.H com omni mgm .E bow common §ch
N.._ rt 2 ..lm. U:E MDOMU P__t., .~o conoco convene o£ §§ wum.w®z §§ mme.m,mo W
.,..rl_ ._ h"__, ;.t Woen£m :emm_e.ommom a
mm . .m§...n$~o h»tPtdeetomnu cuto£e.§,m eeomEEm o£ mo engaged E ano£eomen one ueEme noone T…__Eomeo men cum oh a
P 8 n.._ _vmnnooeo SEE om&EEo_ mE co §Rwo....won_ E game bm.ocn"c__ concon_ whomth
.. . 0 it t_ umco.§mo. o.. ce_o§e.o mem manion macon gemnoto.oe_b conoco cranch no mEmE Hm._.an_ oench .r
a ..m
P .. V»
oE£mBo nonsense owe
~QE n c . . t ca
ZGHE.HW.W mc mUEtOZ Pc/\ edf MZO.mm nw
.Emmm knoch mm won awesome M
t . amaeee newman net .E mar §
woowoe_u 3 hence § bone..%e§_.£ M.EHU jo
05 Umm__._rmwm hM.Hn__Mr ._.FUZ.HD 3ng .H_u_ _Hm¥n.mmuh~ mm…_EuU_E.,.mmum w _ ._nim
mMHB BE o D_ uuw.r$m md HE E_o..._owme_n.w ,.n
o M~wno.mewm wmme wwuunumewweo jan §mm mwm®m@ wmceeo.§on_ W
:QMWM.HZHZWH O,H. H».HE.HMOMEM .E:M.a..?cmm cmmmc.w n
.. mccown
Eseeeee._ announce . M
en az see _ ed donee § cce ecwa… .
.E.m.e.m DEmDGI xZDmm ..r:u P.FZDDU wmgm…c§. coke _
n .

 

r¢l...l.... M.m®w carmsz P.EU n_O .~.MDGU dme

mmasmenm

l-¢:¢"

_ personally with someone named

  

ease 1:16--cv-02134-A1_C Documem 36- 22 misdeeds/17 Page 13 0121 ii

vvvv

 

_.-1111'1"" ""°'M…r ii
1- 'MHMHW lin-f
__ ,,,,,,,, »-”-‘“”’""N n AFF"[DAVIT OF SEl{VlCl'E
un""""""'mm” fn
W.,,,.,.....~¢W""'""M"M lnde:-c i\io, d.§i’?z~r
""M§'i"ATE OF NEW YOR.K“ ]
COUN'T`"Y OI;~"ROCKLAND }ss:

Stcnhen A. Weiss 'Fl 0878

_ ._ 1 being daly sworn, desposes and says: Desponent. is not a party to this
PFOCEE,dm§§ and 15 ever the age of eighteen years.

 

 

 

 

On - j // ’7 _2008 at 712 f ____l?""" O‘clocit Depenenis served copies of the
mead x NoTrce or PE1 111011 Ano Ps11r1or1 ____ iz` 111r nance 10 ear no rice

` GTEI{;;§AY NO'I iCE`. ____ NOTlCE OF TF RMINATION __________ ORDER T(_) __SHOW CA USE
O“ TAE\'S uzi _ »SEM/ii< ULJi "‘i' Gi’£;id ii 611 § em /.}/<’ ut_A - , the Respoadents or persons therein named,
Service of the attached was 11'1adc at f§t;» 111,/¢~‘_'§~1' /7¢, q»r* Ap: .1rtmcn1 in

 

as_follows: ~ - n t d~~ 1 gron>< NYi 104 3b
Pl;RSO`NAi_. SERV‘ECE`.: By personally deliveringl to and leaving with the said

tree copies thereof \e\
The person 111¢111111¢1:1 seem 11 ..... r""" 11113 reese mm“i°“ed a“d

described_as: 1 ` . _,,-~r"` n - 1 1
SEX_SK|N` ` HAiR I-`IEIGHT - -F" WEIGl-IT AGE FEATURES

SUBSTITLITED_ SERVICE: Having gain/lodged lttance to the pre®`dolbm%;:) and leaving true copies thereof h
Fson of suitable age and discretion w o

..1-"'_"

 

stated that he or she resided at or we§'empioycd at tlie premises and wl\o' 1s described ssi
SEXW_ WSKIN /_" HAIR HE|GHT m WE|GHT AGE FE.AT§JRES
1 and who was willing to accept sarne.

 

 

CONSFICUOUS lSi?.li.\/'l(.`ll':`,: Having gained admittance to the main entrance door ofthe premises mentioned and by locating
the door oi" Apartment [» g ,true copies efthe papers referred to for the said Respondents or persons were
affixed to the door wliieh` is the PREM!SES SC)UGHT TO Bl'§`. RECOVERED_ Tliat at the time of said service Deponent rang
the bell and/or linocked o'n the door hat received no repiy. 'l"hat after reasonable application, Deponent was unable to find a
person of suitable age and discretion who was willing to accept service

P|.”ior 10 . 7 /_/7 ,2008 Service was attempted at q£l/ij$

O‘etoet< on 1 /__£_.._fm__._ ‘ ,21.`108. Siibseqeently on j if §; ,2008 conformed copies wmr
properly enclosed' 111 post»paicl_ wrappers addressed and mailed by regular first class mail and certified meif to reach
Respondent or the person a"t die promises described above 'l`he mail was deposited' m a post office box regularly maintained by
the U.S. Government st: U.S. P-O. _BDX BRONX, `NE.W YORK 10451 `

 

S__worn _to before me this

day of r') //?' `BODB

é?»-’“"

"1:11.-. 1111 scenh¢n A. weiss mass

   

’-1.1_

Qual1Fed "1 eltland Ceun_ty ` 1 _
Cemmis_sion expires May 31 2011 -_ ' ' 1 _ _ lhng 13

Case 1:16-cv-02134-ALC Document 86-22 Filed 08/18/17 Page 14 of 21

ALFRED I. GREENBERG, P.C.
Attorney at Law
4200 WHITE PLAINS RD
BRONX, NY lUdEE
Phono: (718) 555-3200

Date: duly 14, 2005

’t"o: trainer-1a stamm

TARSHA SEMAKULA d’

GEORGE SEMAKULA

ri`his _tirm has been retained to collect a debt consisting ot` rent arrears totaling 5.‘2338_80
Any information obtained will be used for that purpose

'i`he below named creditor claims that you owe rent arrears as specified You have 30 days
from receipt ot` this notice to dispute the debt in writing ll" you l"ail to do so, we will assume
the debt to be valid. Ili` you timely uotit`y us, in writing, that you do dispute the dehtr we will
obtain verification ot` the debt and mail same to you. Upon your written request made within
thirty (30) days of the receipt oi` this notice, we will provide you with the name and address
ot`tlie original creditor, it"dit`l"erent from the current erect itor.

'].`liis opportunity to dispute the debt is separate i’rorn any response that you are required to
make or any action you are required to take with respect to any other legal notices you

receive Please respond to any legal notices you may receive within the time frames set forth
in those notices

Creditor: 170 GROUP, LLC

severe dr ret/mmr

135 WEST l?Oth STREET, APT: El

BRONX,

 

NY 10452

KKDJ-lS~El

 

 

CV

Case 1:16

-02134-ALC ll"r)ocumemee-zz Filed 03/18/17 Page lé`of 21

.m....,e=e._ me E.._._ EEG.EEM new EE E ow.wwenm m me Eem et TH§¢E ~=eu=eame.m Eem one man Ee£ EeEee.~mn e.§ 5 E§Eep_ .w
_

 

     

m . mcbm....h...m..r.wm

1 ._F_. \E._,...LM.E weou....mt.,EL vi 3 mcmahon evans mm =o.:wu¢to... m__.wm. oqu m_m.~uEe,Lw

. ca am mEH.EN ..E ..r..eo._mz:m E_m he u..§r._e& m_.:eouh decide mEeE.._E"m Ee owns named mE comm mueme

. r t l eugenean e_.:. .eE_ en 2 E..ew mer..emoe er EQ:HE eric E we eca moses cea ¢e:ee:£e._ ne : en E women modern
2 ma annie ouwo?._o§ _.E.o mt._ 9 25 EH_. omni opt E§ w.ou.n:: mue..mmou o_.: m.a._ani.._ E.=_. =o.z_mua medomo\__o..~ oE _¢._.mE max o_._ worn duce.:.:n:h

  

eE .E.“ .hu_.:eue eng @_ umw gin bowen ,“o .DEF.H ocean oE._Em nu:w_Ee_o;n u_t. . KZDME L_U >PZDOH__ .M~_Qe.r er..,mz umw m.;...~.m
U..: .HMDCMU ann
woowe.v memo HH.“D .m..._=oeeoo£ mECo mcneememc=n_mmc pen owed E.re. ceiewe~

mew._EEm waco emmwmemmea .Ee._.m mmu_weoneoame.m esoEoe E E.etm.e m o eugene emma me:uo:v sum .enomwemm homo::mn_ 2 mem._EeE

nrdc mommmemmonm em=eee.m emo._e£ URHEEQW week EE.E.W marengo men _M=mmwe _eoEmm=.$m...zc m mme:w...a .n__mo::um mm_®_mmmm£a$
mmmw_mm EH.: >Z KKOmm

.srr._t.me.a`_es_,,o assess edwin e_n anew mm e:oe>mm mee§:o>mm same

....E:..._...,e nice :en_..._eee ven ee=ee£emm,: eE ceta e_£..~=emme.m vega mE:_oo E en e_ ,ene.mo women § hose mcmann _EE"E n

resequ eeEmc some mimm:e& e£ moweem._m§ sumner EeEeo..e,Em owed he H__ED err §§ cum _.E weeEEEm ee.:n:m..mm»: e>:oete

invested m mm oven _e emo.Es,_.. anew eoEEH_E.EE mEnEm e.._“ 3 E§Enm unem£:eee gmcsz m 3m mem.§o.& exh .E

denman §§ ._ece commenced Meo;za., mem:=oc&e =emmmemmom er_ e:n:=eo enm.uoece;~ mEeE_.Fi e£ em uem§,“ow uses m_eeumemwe.__.,m d

die eEeoen ocean mo£m GEE..E: uaw Eo».m ..£m:om._om eeo_.HEon noon men EE view .m

irwme me$_md_..~.m

rH.ZH~_ JDWH.¢...H m=.§. DMNUHM m.OZ. mm_DD DZ.».. pime

sz mE.mHOm,m NJ._\ __H.BMU .Am .HQH mm®_m ..,HWE WI mmm?§$mm& ¢F;EM umw D?€~ EU_.E.A.E..__FMZMM .H.EZDF_ED_H__ R?:__.~ OZEDOE ..mG
ZOME.__._,__R M.w.__.c,wm vapor .».._.m£ writ 353

D.mmm..wm.u@m£ ...r.MEQ me_m m.e__,._~~E D_.,,M__~. DMDZME._.A. m._.... mci ..:w .L__,.»J,,.\m ZEWH¢_N_£E¢...FW .HZHH WTE. _U_..w HUMHEDW mmi mmm$d.mmmh umw .h.

eqme mm use
mm.~mh.w me ama
mm.m§e me was
qm.wwmw me can
qm.momw mo Hd.m o¢.n_mmm mwm.m _H¢UM.H

.KHOMm.ue begun rider r....ez,»e _.EQ 230 team =>E .&Ee :E§Ean,~ _wte:..:£ one eme:..... neE_.Em

rm.m_r\.n_ .#Z .H:PE deem Em.: _me.e__ emg wm m...EE._ me~emmh" 32 § mm MeeEcmm.a .e.mee.m 2d
neso:£ mm overdue e.=.. one negated mm…:ee_m eeo eugene mesa :_m=oe mm “e>eEH geE.e, hew eomm.ee.& cch .m.
eeoc meemeton=: mem WEM=E .e£.“o eo:ee._ne vi A...H.H.,.E donovan emem _memmEeE Eem._e memmm~_emee E _.,.,em hEmE nww=e_§ommem re
_EE§H n£»_een=emmee e_m.s.&e»e H,_Ce hmww“emme:emme era _HEEE . umw=en:emdm .m

_E:eE seemed hen Pmm e_.: me eeee>m_m 5 §§E some em.momm EE md

ecmmeooeoom m.Eo:EB co “…M_w._e:...=£ 2 bna 2 muhammad _...mw_=m_o:nmmeu EEU¥...,
eh£e"o.n__£ nach EeEee.mmwemeem ZEE.B m 9 mendoza weakened Emm.,mo zemewemmou E _Ew=me£ nehi mm

.M»BMQEWW mwm®mm_ rambm§emm dmmm.q.=~ E_Eee=oamem .w
summoned male Hm§§_e§_ eE _UEH_H_ @Enee_:ee 4

§§WHMVYMWMEHUMMWHWG\ . 1 . t \ i

 

wicmmlmm$_mwh

mm».=_ cord ,MED_MH

~d:._m m¢E 215 come

DE wl stem nn hoe.~o:.¢.

.o..u ,eemmzmmdw .~ ammann

www,..u=e .~.__`:ba__ no .____, >\mh__.._ 3 ___ .T»

 

emn:~

 

umwmm mowmnm

E_JGU_ Du

 

 

unnamed ce_.>m mm ego mo:emuEnm
iii ee ounces EE_H_=§

eo H_a.~.e.,_m nom

 

 

. z
n in

U nu m.m ceemc.q_

W nominee Emc~._,w

seasons egrean ll
H § emmn~em:e._.
eo D:.GWE~PW .Ho eemo.oZ
co eEE use ooe:o
w N e.m..._wo. . mw . wm

me W>aewmwwm~ned we nunez
mmi

 

 

 

.H.ZMEWJ.L..ZOH ZDW.CPWL

m_- E- eden
ew_§e.mw insane adam
§§ >z ixzomm

mm ama

Hm~m,m.wm E_E_._ .H.er..} umw

_"H\H._E_oae.fmeab

w...,.:..$?. Emm m_©,m O_mw_

t dam D.xdizmm. €Imm.q.w
*_\.Q_E_E..e.h “m=.como

013 §§wa of
m._,..._m_o.__obeee~w

 

com memwmom KHGMU mo t$=:ew
fear EMZ._E ..D.G e..ELo crew =_.,.O

 

ue._mem mem =o.:."e:£=m zone ,me.m..r.=e .u_..§ .AJOMD E.m dc z§_m.pmm mci

§

me@mmm$mm®. se.__ee

 

   

   

\__CaSe `1:.1`6-Cv-02134-ALC Document86-22 Filed 08/18/17 \“-Page\l§;®f 2_1

        

Case 1:16-cv-02134-ALC Document 86-22 Filed 08/18/17 Page 17 of 21

<,, m .,<r\-.s.w‘e~-

l 1 t....t¢¢-nwri-J,r-n MMMWW“ w'"'“t»<`T
ll"- ,1- . . .. uuy“g ra_Yr{...\.\._..….-/’;/( j q ny
index big 1 T

AFFIDAVIT lN SUPI’UR'! OF
WM AN ORDER TO SHOW CAUSE TO VACATE A JUDGMENT
Petitibner, Based Upt_)n a] Faiiul'c “l`o Appt:ar b) Failure to Comply
against and

TO RESTQRE TU THE CAI.ENDAR

M“ (-._.._...» Hl$r¢$$; /._:).3 (;‘ (._‘~_).ii “';;.-~(" n / / rul l ‘:__d».l/ linn
Espondem {] _ _ __ ,,

.;,~a..a“.-"Ll» N ff- iU ”“')"..f;> jj___. Am_ ti _t»

 

 

  
 

 

State of New Yo lt,yCathty of $s.. '

: --» viii axial <§m'<; i`i'ir’i l/ i..’ /K'~ . , being duly swam. deposits and says:
t ‘l' ur h‘lm¢
Temc's initials ‘ ° '
l a) l am the tenant named as respondent in the above summary praceeding.

P;ARTY b) l am the person claiming possession ta these premises and am the
Bf lhE l¢nal.'l£ ¥ll'.’|.mb€l BbCl*JL'.

 

2. l received the Nutica of P¢titlcm and Pe:titian in this proceeding. filed my answer in the Cltrk's Ol`i'\c¢: and
SERVICE received a date for trial.

 

 

 

 

md ANSWER I received a iioidovcr Notic¢: of Pt:titinn and Petition and the date had already passcd.
3. 011 the Date of 'I`rial before lodge
EXCUSE a) a Judgment was entered against me by default far my failure la appenr. My reason for not appearing in

 

C.aurt an thc date scheduled for ("l`rlal) l'Motlon) is:

 

 

X:l§ b) a ludgmcnt was entered (after trial) leiter stipulatlun) but (I) (th¢: landlordlf¢ziled w conrply with the Ordt-r
t>ftheCaurtbacause \~-¢Li J’f\=)l it (/U‘Er"rl'. 155 i,i.l~ ll _{3¢"¢1<5»/€. 55 twa-1 (\ £>{TE’ le ali a
-Qf' l)t»t.ll rural tit acts wmata 1 w l_L/ /‘J /¢;lf~`~`»i>i’

 

 

 

4. l allege that l have a good defense because:
DEFENSE 1 was improperly scrved. _ petitioner is nat the owacr.
the amount being claimed is incorrect. ____ _ _ no rent was damantled.

 

there is credit due for rent overchargc.
thr.~ rent has been offered and tefust:d.
th

¢Explain ram Daymcms.il`any rather defens¢; {]¢;L._{M__jm-l 1- v y /\m h _?£ {F fn
," »’ l tl il ii`>c'r_'l_‘€ art iri m <‘“2 M.w 1 at f i tf`\t._.t lr-»sr“ =_l.'.‘>(;; ;- 1/ {`.é» Mwl
Cl`€:>"§: » S.'s~l cU\X l‘g_,, {} {\ 359 §F)lr \(~)‘i»wJ/Q OD§/

t .
5. 7§. :.._ _ t request that the ludg;m¢nt be vacut¢d, that the case b¢ restored to the calendar and that I be granted
permission to serve these papers in pcrson.

d. -" a) l have not had a previous Ordcr to Sht)w Cansc regarding this index aumber.
PRIDR b) l have had a previous O'rder to Show Causc regarding this index number but 1 am making this further

ORI}E.R
20 O£F§'L_H: arts/aaa ll / 5a fifra/c »c_

Sigrmtur¢ if kaspond:m

the rent has been partiallyx'fully paid.*
l have been harassed.
.Qq)nditians in tha apartment which need repair, or services which ha\;c nat been providr.*cl.

 

 

 

    
   

 

 

application bccausc:

 

 

 

Swom ta before me

 

 

 

stamm cream ampluyi:¢ md Tim=

[`.'l‘e'-L"l`-ll mcle ClV-LT~\ lB) (Rtvi$¢tl. Mi.r¢h. 2000} Page 17

`_ »'»- - ~--1\ `\ ‘

 

 

 

 

  

.mw.r.§.$ NKQ_M.M.

 

 

 

 

 

 

li

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

\M z

mo vummu£ duartum

 

 

 

mo ¢.,B.En.w EB§EN m

 

 

 

   

 

M.UME. w\. :HH…L.
.m..wm.w.£m_¢& ….

 

31
§

HEEUWQUE¥H mm

0307352

 

 

 
  

m

L

 

l

¢llll
§

xi 2 §§ §§ §z E_HU¢B we tamm m.EQ

 
 

g

ww@hmm

 

§§ 1 .E

 

 

 

 

 

 

           
                      

 

 

m._.|.m.W.N_L §._ml.._$wh.w_

 

.wm..n»..“ m %_.\~. h§»_b..»_mv.~ u..,c .Rm HE_EE$"BE mg .§Hr$h 9 F.rw"om »m R.WE_.._ ME id EP..E m §E»_.=n¢ .E £HG.HE .M._"n§ “$Emr.=.n .M.E,BE.§_"@§£E. wynn amwhn.d §§ §

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1
2
r.l
O
9
1
€
m
Dl m.¢\w,`\v.
7 1
U \§nuwm...m ¢§Em§wm

M 1. 1
M § xow$w_.wm §
/
w EO§§H
w 1 §BH§ ,..,.d|....

_..n_ . M_

H …WJRAYW§§BBBQHA§£E§.
_¢_l Evswhmm$mm§§££§§?ud¢ 1
2 §§
A/__ . §§Bu§.…
e REE”HE§»RB.E\ . .
m MWWH.WMMM§§BB§§E 1
U mm.w“m§xmu§§§»m&§n§§.…|
m §,.mwm
D
C §¢Ew.§
l_ § § §§ §
Am . _ §_§u¢
M §§WM£$§. &1
l HWH §§ § B 3 § §§3441
U WWWRW§YME“EWWBHHR¥JEWWWB
w
F_v .
6
1
.1_ 1
€
S
a
C

       

Jw 1 1 Mr\
Wm.rw.» w.w&»

 

,~mx.»,..fh.im~\i| .€

 

 

Case 1:16-cv-02134-ALC Document 86-22 Filed 08/18/17 Page 20 of 21

am wmmm § H §§

.va m__£ wm own mmcum_:wum=mu .B.M @Emm:omm.& E_m mm EBE_Hm wood gmsz 221 .mmn:sow
E m.w_.BuE E:ou mmnmmtm m:Esmnmu ms gissequ ,E hu£muum 2c hmh..$ wm:o:.m EHD .HPE~ mman ___15~: :m_u_ .,S mm E_UEUE EEEEH£E Muomnm wound §§

EENEEI humde nonsum_xm ”__HE@ simm..v._wmmm §§ nB:Sxm downum THEEDM

wmamm__`m:m¢ §me .?.._EEM_M :§m w md.E_GIP H.EuEO EuEuu.Ewmm .H:Em§ U.WZ hmuxmmd usua.§u.~£:m .huw.m©k_q:utmmsmnm .EL - nowhde
~mowuuuw..m ,m¢mw__`m rim ..HND nummwm%u:m£ imm.mmm§m,.m HUEEE mmEEF dmc:~ mEEE© J cum EuEmumH ..q. gm ._Uum§w£ EEMEDW HEEHSF
gm m deOm.w _..EE.U_©

EMEuHExm _HEEHE UPZ HYEMH EMEB.H£=U .wc@m%m$mm HB.,..“D nu»..um_._,mm “Wu:wum HEENE - wocu>:n_m - EHHQB H£ Mmmzwum m_mm~mwa§
§:m§mm §mm.&¢ § iw§um djm:omm m_.: § H_…w…_§m§u H_H§Q§§ E§=m §§ ”Y¢N§.H_E

5me uEB:m »E._mmmnmw MEM_EMP.:.. mmE,w .mnom`__mw"wo dng vumm J gm AM.EQE co mor£:_mmm 5a nmmzum…_ uo…mwmmm¢m 515 EM_EWY.;.

uu§cm EUEM::. - EEENS:QQ

¢JDMMEmm ¢.Emmdw

§ M@m@mm&mmm§ §:m.q.§mm § §§.§mm mwm@mm § am §§ gao _H.§§E&Esm…. §§ §,;§ - §_E§§Q

momum.._um wo munoz - moime - EEEEEDU

m¢n_mEEma

wo$wEE_wn_

m@$mu … 91 we
mc$w$wbw@

wn¢wwmwb.b
mac w__`mr__.__\@

 

QHDMGUMM mdwmdm

me: WZ FNZGMM dm Hmmmrwm 502 Pmm~.§ mmw - m@MDmm__EEmmd.w dupv…d.§mm 3m

§§ § nwzomm gm EMEE :E& wm§, § - j§¢$mm m@mn_mm §

wmi…: .E..~ »HEDMN ,mm umwum E.M._._H_E Hmm§, mm._ - ¢ADMEEMW §mmd.w _U.E

¢mmm1mwm-m H w “¢w.nm; ._WZ ”HZDMD F_QJQ.OM mH?_JL m.M.E._F D¢w.q - .Q-m.@.mmmzmmm@

.m Dm.mmq.....__.

mj.mmom@ § §

5 EE`EM.E$Q unnamth _E.E:.End~ .vaE WZ 1NZO,mm gm pmmum M.Rh_: ,H.mmh§ mg ...…muwmmEm\._nd atomch

om,mmw,mW we E:QEN m_£ 5 EMEM.HL-§Z H:ouud.m_u EW£§U

EEEQ»QQU
m¢nm"mwkn

m@m@m@§rmm{w £JJM{Emm
E§EEY mwmomw m§_§§m §§
ud\m§um§mm dem,m¢..w EUHRNLAEZ
unmwnnw:ommu.m EEUEEM
mwmmhm:.~_._.¢
.w.., EHENH. nom Emmmmm\m
U.M.MMDOMU 92 Km._`mn-mm__~mmm..wA
H_…m…:u:ommum E.EU_ :...mu_ _$:mou VEEM

 

downqu mmmommm@
§me cummime

MBEM
HEENQEWWEQ
..m&_~,w §§th
§me nu:m
U_..M..C. mmmU

HBE:?… 565
nw :DU

Case 1:16-cv-O2134-ALC Document 86-22 Filed 08/18/17 Page 21 of 21

§ wmmn_ 2c m §§ 2
. §§ wng hE_ umw …mm:m:wum:ou Bm um£w:ommo.~ 5a mm EBW..E MBQU EEED mmp .muu§om
5 WEQE EEH_ EEMUQ mm£:mnou __E QOUNEH£E mo mumhsuum umw ©Eo> 2505 535 ,EE mm_.m; ,_._.m umwa fmc we mm UUU.EH_E monm§££ BQQUE donna EHE.

EuEmm=.m BEMP 1 _…mw manned unionth JEEM _E EQEE M_mn:_.. .E twa mmow.____mw__`mc
EYEQU co Eu§mn£. HTWUEQE:D .m@m¢m.§nm mi pnm ..QWDE:L £UEHEE NQEEME WQEEEL numu£. “.E §§ mom§m_w`%__`\n
PHF»W_UE HUZH~_#.HLL€

 

quime EEHQ "m_§w jonasz 2§.,5 §§ .§:M¢Emm

§YE § Mm@momw§mmm§ §:§.Emm § …j§¢.§m m@xom@ § 3m EE .m gm §§u }..Em 2 529 §EE Y¢N:.QE
§§ §§ JEEME_H z§z %=§ ja§§mm §mm§ § mmcm©mw_&mmm§

ja§§mm § …S:M{Emm mwm@m@ § HM§ §§ .§Qmw_§ HEE£ §§ nw gm 525 §§ 2 EEQ_ §EE m§w@:§
€25§ EE»E §§m ,E»Em§_;§§ H...§BH h§§¢§mm

¢mmm§ § mm@m@mm§mm§ §:m§mm § m§:§§mm mmm@mm § gm §m .H Em .E§w §§ 2 EE@…_ E%H Y@QY§

 

d.ADMCEmm_ MIWMJH 53 .Y., UAA.LD©MU of E…_ Hm"mm-mmwwm@-wq

